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ADJUSTABLE RATE NOTE
FIRST FIVE YEAR FIXED PAYMENT - 12MTA

THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY INTEREST RATE AND MY
MONTHLY PAYMENT. BECAUSE MY INTEREST RATE WILL CHANGE MORE FREQUENTLY THAN
MY MONTHLY PAYMENT, AND BECAUSE THERE ARE LIMITATIONS ON MY MONTHLY PAYMENT
INCREASES, THE AMOUNT OF MY MONTHLY PAYMENT MAY NOT FULLY PAY THE INTEREST
THAT ACCRUES. AS A RESULT, THE PRINCIPAL AMOUNT I MUST REPAY COULD BE LARGER
THAN THE AMOUNT I ORIGINALLY BORROWED, BUT NOT MORE THAN 330.000% OF THE
ORIGINAL AMOUNT (OR $_175,120.00 ). MY INTEREST RATE CAN NEVER EXCEED THE
LIMIT STATED IN THIS NOTE OR ANY RIDER TO THIS NOTE. A BALLOON PAYMENT MAY BE DUE
AT MATURITY.

July 7, 2006 ATLANTA Georgia

(City) (State)
2197 Carlysle Creek Drive, Lawrenceville, GA 30044

(Property Address)

1, BORROWER'S PROMISE TO PAY

In return for a loan that I have received, I promise to pay U.S. $ _ 159,200.00 plus any amounts
added in accordance with Section 4 (G) below, (this amount is called “Principal”), plus interest, to the order of the
Lender. The Lender is __ American Brokers Conduit
. [ will make all payments under this Note in form of cash, check or money order. |
understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who
is entitled to receive payments under this Note is called the “Note Holder”.

2. INTEREST

Interest will be charged on unpaid Principal until the full amount has been paid. I will pay interest at a yearly
rate of 1.900% _ until July 32, 2006 , and the initial monthly payment provided for in Section
3(B) of this Note will be based on this rate (the “Initial Rate”). Commencing August 1, 2006 , | will pay
interest at a yearly rate of 6.832% (the “Subsequent Rate”). Thereafter, the interest rate [ will pay
may change in accordance with Section 4 of this Note. The interest rate required by this Section 2 and Section 4
of this Note is the interest rate I will pay both before and after any default described in Section 7(B) of this Note.

3. PAYMENTS
(A) Time and Place of Payments

I will pay Principal and interest by making payments every month. In this Note, unless otherwise specified
“payment” refers to the Principal and interest payment only, although other charges such as taxes, insurance
and/or late charges may also be payable with the monthly payment.

I Will make my monthly payments on — 1st day of each month beginning on
September , 2006. I will make these payments every month until I have paid all of the principal and
interest and any other charges described below that I may owe under this Note. Each monthly payment will be
applied to interest before Principal. If, on August 1, 2036 _, Estill owe amounts under this
Note, I will pay those amounts in full on that date, which is called the “Maturity Date”.

I will make my monthly payments at 2 20x 660029, Dallas, TX 75266-0029
__, orat a different place if required by the Note Holder.

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* (B) Amount of My Initial Monthly Payments

. . . of
Each of my monthly payments until the first Payment Change Date will be in the amount
U.S.$__ sao a , unless adjusted at an earlier time under Section 4(H) of this Note.

(C) Payment Changes

My monthly payment will be recomputed, according to Sections 4(E)(F)(G)(H) and (1) of this Note, to reflect
changes in the Principal balance and interest rate that I must pay. The Note Holder will determine my new
interest rate and the changed amount of my monthly payment in accordance with Section 4 of this Note.

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES
(A) Change Dates

The interest rate I will pay may further change on the ier day of September >
2006 _, and on that day every month thereafter. Each such date on which my interest rate could change
is called a “Change Date.”

(B) The Index

On cach Change Date, my interest rate will be based on an Index. The “Index” is the Twelve-Month
Average, determined as set forth below, of the annual yields on actively traded United States Treasury Securities
adjusted to a constant maturity of one year as published by the Federal Reserve Board in the Federal Reserve
Statistical Release entitled “Selected Interest Rates (H. 15)” (the “Monthly Yields”). The Twelve-Month Average
is determined by adding together the Monthly Yields for the most recently available twelve months and dividing
by 12.

The most recent Index figure available as the 15 days before each interest rate Change Date is called the
“Current Index’. If the Index is no longer available, the Note holder will choose a new index which is based upon
comparable information. The Note Holder will give me notice of this choice.

(C) Calculation of Changes
Before each Change Date, the Note Holder will calculate my new interest rate by adding
Two and 400 Thousandths percentage points 2.400 % (‘Margin’) to the

Current Index. The Note Holder will then round the result of this addition to the nearest one-thousandth of one
percentage point (0.001). Subject to the limits stated in Section 4(D) below, this rounded amount will be my new
interest rate until the next Change Date. In the event a new Index is selected, pursuant to paragraph 4(B), a new
Margin will be determined. The new Margin will be the difference between the average of the old Index for the
most recent three year period which ends on the last date the Index was available plus the Margin on the last date
the old Index was available and the average of the new Index for the most recent three year period which ends on
that date (or if not available for such three year period, for such time as it is available). This difference will be
rounded to the next higher 1/8 of 1%.

(D) Interest Rate Limit

My interest rate will never be greater than Nine and 950 Thousandths

percentage points _9 o¢o % (“Cap”), except that following any sale or
transfer of the property which secures repayment of this Note after the first interest rate Change Date, the
maximum interest rate will be the higher of the Cap or 5 percentage points greater than the interest rate in effect at
the time of such sale or transfer.

(E) Payment Change Dates

Effective commencing September 1, 2011 _, (the “First Payment Change
Date”) and on the same date each twelfth month thereafter (“Payment Change Date”), the Note Holder will
determine the amount of the monthly payment that would be sufficient to repay the projected principal balance I
am expected to owe as of the Payment Change Date in full on the Maturity Date at the interest rate that will
become effective one month prior to the Payment Change Date in substantially equal payments. The resuit of this
calculation is the new amount of my monthly payment, subject to Section 4(F) below, and I will make payments
in the new amount until the next Payment Change Date. My payments can change at any time, before or after the
First Payment Change Date or any Payment Change Dates under Section 4(H) of this Note.

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‘+ * () Monthly Payment Limitations

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: Unless Section 4(H) and 4(1) below apply, the amounts of my new monthly payment, begit

° Payment Change Date following the First Payment Change Date under Section 4(E), will be limited to TV%
more or less than the amount I have been paying. This payment cap applies only to the principal and interest
payment and does not apply to any escrow payments Lender may require under the Security Instrument.

(G) Changes in My Unpaid Principal Due to Negative Amortization or Accelerated Amortization

Since my initial monthly payment will be based on the Initial Rate, which may be different than the
Subsequent Rate, my initial monthly payment could be less or greater than the amount of the interest portion (the
“Interest Portion”) of the monthly principal and interest payment that would be sufficient to repay the unpaid
Principal I owe in full on the Maturity Date in substantially equal payments. Additionally, since my payment
amount changes less frequently than the interest rate and since the monthly payment is subject to the payment
limitations described in Section 4(F), my monthly payment could be less or greater than the amount of the Interest
Portion. For each month that the monthly payment is less than the Interest Portion, the Note Holder will subtract
the monthly payment from the amount of the Interest Portion and will add the difference to my unpaid Principal,
and interest will accrue on the amount of this difference at the current interest rate. For each month that the
monthly payment is greater than the Interest Portion, the Note Holder will apply the excess towards a principal
reduction of the Note.

(H) Limit on My Unpaid Principal; Increased Monthly Payment

My unpaid Principal can never exceed a maximum amount equal to 120-0008 Of the principal amount
originally borrowed. In the event my unpaid Principal would otherwise exceed that 119 coos limitation, |
will begin paying a new monthly payment until the next Payment Change Date notwithstanding the 7 4% annual
payment increase limitation. The new monthly payment will be an amount which would be sufficient to repay my

| then unpaid Principal in full on the Maturity Date at the interest rate in effect one month prior to the payment due

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date in substantially equal payments.
(I) Required Full Monthly Payment

On the _ Five anniversary of the due date of the first monthly payment, and on that same day every
_Five __ year thereafter, the monthly payment will be adjusted without regard to the payment cap
limitation in Section 4(F).

(J) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in the amount of my monthly payment
before the effective date of any change. The notice will include information required by law to be given me and
also the title and telephone number of a person who will answer any question I may have regarding the notice.

(K) Failure to Make Adjustments

| If for any reason Note Holder fails to make an adjustment to the interest rate or payment amount as described
in this Note, regardless of any notice requirement, I agree that Note Holder may, upon discovery of such failure,
then make the adjustment as if they had been made on time. I also agree not to hold Note Holder responsible for
any damages to me which may result from Note Holder's failure to make the adjustment and to let the Note
Holder, at its option, apply any excess monies which I may have paid to partial Prepayment of unpaid Principal.

5, BORROWER’S RIGHT TO PREPAY

I have the right to make payments of Principal at any time before they are due. A payment of Principal only
is known as a “Prepayment”. When I make a Prepayment, I will tell the Note Holder in writing that [ am doing

so. I may not designate a payment as a Prepayment if I have not made all the monthly payments due under the
Note.

} may make a full prepayment or partial prepayments without paying any prepayment charge. The Note
Holder will apply al! of my prepayments to reduce the amount of Principal that I owe under this Note. However,
the Note Holder may apply my Prepayment to the accrued and unpaid interest on the Prepayment amount, before
applying my Prepayment to reduce the Principal amount of the Note. If I make a partial prepayment, there will be
no changes in the due dates of my monthly payments unless the Note Holder agrees in writing to those changes.

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: My pastial prepayment may have the effect of reducing the amount of my month f
first Payment Change Date following my partial Prepayment. However, any reduction due to my partial
Prepayment may be offset by an interest rate increase.

6. LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with this loan exceed the permitted limits,
then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted
limit, and (b) any sums already collected from me which exceeded permitted limits will be refunded to me. The
Note Holder may choose to make this refund by reducing the Principal I owe under this Note or by making a
direct payment to me. If a refund reduces Principal, the reduction will be treated as a partial Prepayment.

Miscellaneous Fees: I understand that the Note Holder will also charge a return item charge in an amount
permitted and otherwise in accordance with Applicable Law in the event a payment that I make in connection
with repayment of this loan is not honored by the financial institution on which it is drawn. Lender reserves the
right to change the fee from time to time without notice except as may be required by law.

7, BORROWER'S FAILURE TO PAY AS REQUIRED
(A) Late Charges for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of

is calendar days after the date it is due, I will pay a late charge to the Note Holder. The

amount of the charge will be 5.000 __% of my overdue payment of Principal and interest. I will pay this late
charge promptly but only once for each late payment.

(B) Default
If 1 do not pay the full amount of each monthly payment on the date it is due, I will be in default.
(C) Notice of Default

If 1 am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue
amount by a certain date, the Note Holder may require me to pay immediately the full amount of Principal which
has not been paid and all the interest that I owe on that amount. That date must be at least 10 days after the date
on which the notice is delivered or mailed to me (or, if the Federal National Mortgage Association or the Federal
Home Loan Mortgage Corporation buys all or part of Lender’s rights under the Security Instrument, in which case
the notice will specify a date, not less than 30 days from the date the notice is given to Borrower).

(D) No Waiver By Note Holder

Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as
described above, the Note Holder will still have the right to do so if lam in default at a later time. .

(E) Payment of Note Holder’s Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have
the right to be paid back by me for all of its.costs and expenses in enforcing this Note, whether or not a lawsuit is
brought, to the extent not prohibited by Applicable Law. Those expenses include, for example, reasonable
attorneys’ fees.

8. GIVING OF NOTICES

Unless Applicable Law requires a different method, any notice that must be given to me under this Note will
be given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different
address if I give the Note Holder a notice of my different address.

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Any notice that must be given to the Note Holder under this Note will be given by mailing it b a
mail to the Note Holder at the address stated in Section 3(A) above or at a different address if 1 am given a notice
of that different address.

9. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the
promises made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor,
surety, or endorser of this Note is also obligated to do these things. Any person who takes over these obligations,
including the obligations of a guarantor, surcty, or endorser of this Note, is also obligated to keep all of the
promises made in this Note. The Note Holder may enforce its rights under this Note against each person
individually or against all of us together. This means that any one of us may be required to pay all of the amounts
owed under this Note.

10. WAIVERS

I and any other person who has obligations under this Note waive the rights of presentment and notice of
dishonor. “Presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice
of Dishonor” means the right to require the Note Holder to give notice to other persons that amounts due have not
been paid.

11. UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections
given to the Note Holder under this Note, a Mortgage, Deed of Trust or Security Deed (the “Security
Instrument”), dated the same date as this Note, protects the Note Holder from possible losses which might result if
I do not keep the promises which I make in this Note. That Security Instrument describes how and under what
conditions I may be required to make immediate payment in full of all amounts I owe under this Note. Some of
those conditions are described as follows:

Transfer of the Property or a Beneficial Interest in Borrower.

If all or any part of the Property or any interest in the Property is sold or transferred (or if a
beneficial interest in Borrower is sold or transferred and Borrower is nat a natural person) without
Lender’s prior written consent, Lender may require immediate payment in full of all sums secured by this
Security Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited
by Applicable Law. Lender also shall not exercise this option if: (a) the request to assume is made after
one year following recordation of the Deed of Trust, (b) Borrower causes to be submitted to Lender
information required by Lender to evaluate the intended transferee as if a new loan were being made to the
transferee; and (c) Lender reasonably determines that Lender’s security will not be impaired by the loan
assumption and that the risk of a breach of any covenant or agreement in this Security Instrument or other
obligations related to the Note or other loan document is acceptable to Lender, (d) Assuming party
executes Assumption Agreement acceptable to Lender at its sole choice and discretion, which Agreement
may include an increase to Cap as set forth below and (e) payment of Assumption Fee if requested by
Lender.

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
Lender’s consent to the loan assumption and Lender may increase the maximum rate limit to the higher of
the Cap or 5 percentage points greater than the interest rate in effect at the time of the transfer. Lender may
also require the transferee to sign an assumption agreement that is acceptable to Lender and that obligates
the transferee to keep all the promises and agreements made in the Note and in this Security Instrument.
Borrower will continue to be obligated under the Note and this Security Instrument unless Lender has
entered into a written Assumption Agreement with transferee and formally releases Borrower.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is given in accordance with Section
15 within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay

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these sums prior to the expiration of this period, Lender may invoke

Security Instrument without further notice or demand on Borrower.

12. MISCELLANEOUS PROVISIONS

In the event the Note Holder at any time discovers that this Note or the Security Instrument or any other
document related to this loan, called collectively the “Loan Documents,” contains an error which was caused by a
clerical or ministerial mistake, calculation error, computer error, printing error or similar error (collectively
“Errors”), I agree, upon notice from the Note Holder, to reexecute any Loan Documents that are necessary to
correct any such Errors and J also agree that I will not hold the Note Holder responsible for any damage to me
which may result from any such Errors.

If any of the Loan Documents are lost, stolen, mutilated or destroyed and the Note Holder delivers to me an
indemnification in my favor, signed by the Note Holder, then I will sign and deliver to the Note Holder a Loan
Document identical in form and content which will have the effect of the original for all purposes.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

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Hussain Kareem -Borrower -Borrower

(Seal) (Seal)
-Borrower -Borrower

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